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     The People of the State of Colorado, Petitioner/Cross-Respondent  v.  Stephanie Martinez, Respondent/Cross-Petitioner No. 24SC342Supreme Court of Colorado, En BancMarch 17, 2025
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 22CA667
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      and Cross-Petition for Writ of Certiorari DENIED.
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
      JUSTICE BOATRIGHT would grant as to the following issue:
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Whether
      the court of appeals erred in holding that a defendant is
      reversibly prejudiced by a jury interrogatory on an
      indisputable fact attached to defense-requested lesser
      included instruction.
    